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Dated: April 12, 2018                             Respectfully submitted,

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IT IS SO ORDERED this ______ day of April, 2018.


                                      ______________________________________
                                      The Honorable Leonard P. Stark




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